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                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                    MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                APPLE’S MEMORANDUM IN
           20       a Delaware corporation,                     SUPPORT OF ITS MOTION TO
                                                                STRIKE PLAINTIFFS’ “UPDATED”
           21                          Plaintiffs,              AND “SUPPLEMENTAL” EXPERT
                                                                REPORTS SERVED AUGUST 9, 2024
           22             v.
           23       APPLE INC.,                                 Date: September 9, 20241
                    a California corporation,                   Time: 1:30pm
           24                                                   Courtroom: 10C
                                       Defendant.
           25
                                                                Pre-Trial Conference: Oct. 28, 2024
           26                                                   Trial: Nov. 5, 2024
           27
                    1
           28         Earlier today, Apple filed a proposed stipulation for expedited briefing and oral
                    argument.
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             1                                        INTRODUCTION
             2            In the nearly 16 months since the jury deadlocked 6-1 in Apple’s favor on
             3      Plaintiffs’ trade secret and patent-ownership claims, Plaintiffs have not once suggested
             4      that any aspect of their case needs to be updated. In fact, as recently as last month,
             5      Plaintiffs did not dispute the Court’s recognition that those claims were “‘ready to go’”
             6      and could be simply “taken ‘off the shelf.’” See, e.g., Dkt. 2052 at 13. And as this Court
             7      summarized in granting Apple’s motion to bifurcate, “[f]act and expert discovery for
             8      these claims have been complete since prior to the April 2023 trial” and “[t]here is
             9      nothing left to do but retry the claims.” Dkt. 2064 at 2.
           10             Plaintiffs’ position suddenly changed at 5pm on Friday, August 9, 2024, when—
           11       without warning or explanation—they served a so-called “updated” report from their
           12       damages expert and a so-called “supplemental” report from their technical expert. Ex.
           13       1 [8/9/24 Kinrich Rpt.]; Ex. 2 [8/9/24 Madisetti Rpt.]. Both reports contain new theories
           14       related to the trade secret case that could have been raised before the close of fact and
           15       expert discovery years ago in 2022, and plainly reflect an improper attempt to patch
           16       flaws in their case revealed during the prior trial. Mr. Kinrich’s “updated” damages
           17       report also violates several existing court orders by relying on additional products and
           18       information from an unrelated ITC proceeding.
           19             This is not the first time that Masimo has (unsuccessfully) attempted to introduce
           20       new and untimely theories of the case through its experts. It is not even the first time
           21       that Masimo has served a belated Kinrich Report that purports to “provide updated
           22       calculations using the same methodology” as Mr. Kinrich’s timely served October 2022
           23       report. See Dkt. 1347 at 5, 9-10 (hereinafter “Kinrich Order”). As the Court explained
           24       in previously rejecting Masimo’s prior improper attempts to inject untimely new theories
           25       under the guise of an “update,” “[p]roper supplementation does not include an
           26       opportunity for an expert to ‘revise her disclosures in light of her opponent’s challenges
           27       to the analysis and conclusions therein … after this court’s deadline for doing so has
           28       passed.’” Id. at 9-10. This Court should apply the same rule here and exclude entirely

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             1      the “updated” and “supplemental” expert reports.
             2            As the Court recently confirmed, the trade secret and patent ownership claims will
             3      be tried and finally resolved in November, and Apple respectfully requests that the Court
             4      reject Plaintiffs’ latest attempt to disrupt that retrial. Apple has noticed a hearing at the
             5      earliest possible date (September 9th), but Apple submits that given the impending trial,
             6      an earlier hearing would be appropriate—or an early ruling with no hearing at all, given
             7      the compelling reasons for striking Plaintiffs’ latest improper reports.
             8                                          BACKGROUND
             9            A.     Plaintiffs’ Prior Damages Theories
           10             Fact discovery related to Plaintiffs’ trade secret claims closed on August 12, 2022,
           11       and expert discovery closed on December 12, 2022. Dkt. 627. Since then, Plaintiffs
           12       have tried repeatedly and without success to revamp the opinions of their damages
           13       expert, Jeffrey Kinrich.
           14             Mr. Kinrich timely served an opening expert report in October 2022, in which he
           15       offered three theories of damages for the purported trade secret misappropriation: (1)
           16       lost profits; (2) unjust enrichment based on a “cost savings” model; and (3) unjust
           17       enrichment based on an “incremental profits” theory. See Kinrich Order at 6, 10. With
           18       respect to the first two theories, Mr. Kinrich’s analysis relied on FRCP 26(a)(2)(c)
           19       disclosures from Plaintiffs’ employees provided after the close of fact discovery. Those
           20       employee opinions were subsequently stricken. See Dkt. 1031. In November 2022, Mr.
           21       Kinrich served a supplemental report “purporting to remove any reliance on stricken
           22       material and provide updated calculations using the same methodology as his [opening]
           23       report but without regard to [the] stricken material.” Kinrich Order at 5.
           24             Two months before trial, the Court granted Apple’s motion to exclude entirely
           25       Mr. Kinrich’s lost profits and “cost savings” opinions from his opening report “because
           26       they [we]re premised on information this Court previously excluded.” Id. at 5-8. At the
           27       same time, the Court struck Mr. Kinrich’s supplemental report noting it would “not
           28       permit Plaintiffs to end run its [earlier] order by attempting to utilize facts and opinions

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             1      the Court previously excluded, just in different packaging” and that the supplemental
             2      report was “also untimely.” Id. at 9. In doing so, the Court observed that “[p]roper
             3      supplementation does not include an opportunity for an expert to ‘revise her disclosures
             4      in light of her opponent’s challenges to the analysis and conclusions therein … after the
             5      court’s deadline for doing so has passed.’” Id. at 9-10.2
             6              At the start of trial, Plaintiffs attempted to revive their lost profits theory, and the
             7      Court rejected Plaintiffs’ request due to the “lack of various factual bases and admissible
             8      evidence.” Dkt. 1516 at 6. Among other things, the Court found that Plaintiffs “failed
             9      to identify a timely disclosure of the subset of models/sales on which they intend to rely
           10       at trial” and “Apple would be prejudiced by having to defend against this vastly
           11       different, eleventh-hour position.” Id. at 3.
           12               As a result of the Court’s orders, Plaintiffs had one theory of damages remaining
           13       to present before the jury:       Mr. Kinrich’s theory of unjust enrichment based on
           14       incremental profits. Specifically, Mr. Kinrich calculated gross profits he attributed to
           15       three features, including the Blood Oxygen feature that purportedly relates to Plaintiffs’
           16       alleged technical trade secrets, for two Apple Watch models: Series 6 and Series 7. Ex.
           17       3 [Kinrich Op. Rpt.] at ¶ 8
           18
           19                 ; id. at ¶ 142
           20                 .3 Indeed, Mr. Kinrich emphasized that he opined on incremental profits
           21
           22
           23                                                                                                 Id. ¶
           24
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                      In a separate order, the Court held that Mr. Kinrich’s reasonable royalty analysis
           26       improperly relied on information that was not properly disclosed during fact discovery.
                    Dkt. 1076 at 5 (“Although Plaintiffs have been on notice regarding the importance of
           27       being forthcoming regarding their damages theories and contentions … the Court finds
                    that, once again, Plaintiffs now attempt to explain away deficient disclosures.”).
           28
                    3
                        Emphasis added unless otherwise noted.
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             1      165; see also Ex. 4 [4/10/23 Trial Tr.] at 158:6-9 (Court acknowledging Mr. Kinrich’s
             2      report                                                                                    ).
             3               During trial, the Court rejected Plaintiffs’ attempt to expand Mr. Kinrich’s
             4      remaining unjust enrichment theory to include Watch products beyond Series 6 and 7.
             5      Ex. 5 [4/12/23 Trial Tr. AM] at 15:6-18. The Court “limit[ed] the unjust enrichment
             6      calculation to Series 6 and 7” because it had “great difficulty getting beyond th[e]
             7      limitations” of Mr. Kinrich’s disclosures in his report and deposition. Id.
             8               Following the Court’s ruling, Mr. Kinrich testified to the jury that he valued
             9      Apple’s Blood Oxygen feature at $1.85 billion based on 2020-2022 Watch sales by
           10       comparing Series 6 and 7 Watches (which had the feature) with Series SE (which did
           11       not). Ex. 6 [4/13/23 Trial Tr. AM] at 84-85, 87-95, 100-106. Mr. Kinrich did not
           12       provide a reason why any particular purported trade secret was worth $1.85 billion. Id.
           13       at 130:6-8. On cross examination, Mr. Kinrich conceded that he attributed all the
           14       difference in profit between the Series 6 and 7 on one hand and the SE on the other to
           15       three features: Blood Oxygen, ECG, and the Always-On retina display. Id. at 116-18,
           16       130-31. He admitted he gave other technical distinctions between the models—such as
           17       the fact that Series 6 used a “very powerful computer chip … that is not in the SE,” id.
           18       at 118—“zero value,” id. at 124-27; see also Ex. 7 [4/25/23 Trial Tr.] at 28-31 (Apple’s
           19       expert Shirley Webster critiquing Mr. Kinrich’s failure to attribute value to the faster
           20       processor). The Court’s FRCP 50(a) ruling later singled out Mr. Kinrich’s failure to
           21       adjust for the numerous other differences in features between Series 6 and 7 and SE as
           22       a reason a jury could find Masimo had failed to meet its burden to establish damages.
           23       See Dkt. 1724 at 14 (“Whether [Kinrich] did enough to isolate [Apple’s] profits (e.g., by
           24       ignoring all other feature differences between the Series 6 and 7 and SE) … is a matter
           25       for the jury to decide.”).
           26                B.    Plaintiffs’ Misappropriation Theory For The Purported L5 Trade
           27                      Secret
           28                In his pre-trial expert reports and at trial, Plaintiffs’ technical expert Dr. Madisetti

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             1      opined that Apple (1) misappropriated L5 through the incorporation of a single short
             2      circuit (or               ) in certain chips within Apple Watch known as ASICs, Ex. 8
             3      [4/12/23 Trial Tr. PM] at 94:22-95:17, and (2) used L5 in each version of those ASICs
             4      starting with the Series 1, including the
             5                        id. at 28:17-29:7 (citing JTX-186, a                          ). He also
             6      testified that Apple had purportedly disclosed L5 to one third party—“
             7                                          Ex. 8 [4/12/23 Trial Tr. PM] at 26:12-28:8.
             8             C.     Plaintiffs Belatedly Serve New Trade Secret-Related Expert Reports
             9             In September 2023, the parties jointly suggested holding the trade secret retrial in
           10       late October 2024. Dkt. 1925. Plaintiffs later proposed—and this Court ordered—a
           11       combined trial on all of Plaintiffs’ trade secret and patent law claims to start on
           12       November 5, 2024. Dkt. 1944. Masimo never requested, and the schedule made no
           13       provision for, reopening fact or expert discovery into the trade secret claims (in fact, the
           14       schedule was directed exclusively to the Masimo’s patent infringement claims). Dkt.
           15       1944 at 2; see also 1943-1 (Plaintiffs’ statement regarding trial schedule making no
           16       reference to reopening trade secret discovery).
           17              On August 1, 2024, the Court bifurcated the patent infringement claims from the
           18       trade secret and patent ownership claims due to delays in the patent infringement
           19       schedule associated with the need to appoint a technical advisor to assess an 864-page
           20       set of new infringement contentions that Plaintiffs untimely served on July 5, 2024. See
           21       generally Dkts. 2031-1, 2062. One reason for bifurcation was this Court’s recognition
           22       that the trade secret and ownership claims could be taken “off the shelf” and were “ready
           23       to go” without further proceedings. Ex. 9 [7/12/24 Hr’g Tr.] at 18:1-11. Although
           24       Plaintiffs opposed bifurcation, they did not dispute that the trade secret and ownership
           25       claims were ready to be tried. Rather, they argued only that “some claims being ‘ready’
           26       does not justify bifurcation” and that (supposedly) “the patent claims are nearly ready
           27       for trial too.” Dkt. 2041-2 at 13 (capitalization omitted).
           28              A week after the bifurcation order, Plaintiffs served a 165-page “updated” expert

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             1    report from Mr. Kinrich regarding damages and a 12-page “supplemental” expert report
             2    from Dr. Madisetti regarding a new misappropriation theory for purported L5 trade
             3    secret.    Plaintiffs had never previously raised with Apple or the Court even the
             4    possibility that they would serve these reports.
             5          One business day after receiving the reports, Apple requested a meet and confer
             6    regarding the instant motion to strike. Ex. 10 [Email Thread] at 5-6. As part of that
             7    meet and confer, Plaintiffs (1) attempted to justify Mr. Kinrich’s new report as allegedly
             8    just “updat[ing] his calculations to include the most recent data,” id. at 2, and (2)
             9    asserted that Dr. Madisetti’s report was appropriate because it purports to rely on
           10     documents that Apple had first produced in June 2024 (in response to new fact discovery
           11     that Masimo had recently served in connection with its patent infringement claims) that
           12     Plaintiffs claim “reveal[ed] that Apple had
           13                                  Ex. 10 [Email Thread] at 1-2.
           14           To date, Plaintiffs have not provided any legitimate explanation for why they
           15     waited until less than three months before retrial to serve these reports. Accordingly,
           16     and for the reasons below, both reports should be excluded.
           17                                             ARGUMENT
           18     I.    THE “UPDATED” KINRICH REPORT IS UNTIMELY AND IMPROPER.
           19           At trial, Plaintiffs’ evidence of damages was—at best—exceedingly thin. Mr.
           20     Kinrich’s “updated” report is simply the latest in Plaintiffs’ ongoing attempts to
           21     belatedly—and improperly—shore up the many flaws in their position. Because the
           22     “updated” report violates this Court’s prior orders and contains untimely disclosed new
           23     theories, it should be stricken.
           24           A.      The “Updated” Report Improperly Seeks To Expand Mr. Kinrich’s
           25                   “Incremental Profits” Theory Beyond Apple Watch Series 6 And 7.
           26           For the first time in this litigation, the “updated” Kinrich report opines on the
           27     purported value of the Blood Oxygen feature to Apple Watch models other than the
           28     Series 6 and 7—i.e., the Series 8, Series 9, Ultra, and Ultra 2 Watches. Ex. 1 [8/9/24

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             1    Kinrich Rpt.] at ¶ 12, Ex. 1A-F. This approach violates this Court’s prior ruling, which
             2    limited Plaintiffs to presenting an unjust enrichment “incremental profits” theory for
             3    only the Series 6 and 7, Ex. 5 [4/12/23 AM Trial Tr.] at 15:6-18—precisely because Mr.
             4    Kinrich’s original report was explicitly limited to those models, see supra p.4. As this
             5    Court previously observed, Mr. Kinrich explained that he did “
             6                ” and therefore did
             7                                                                                            .”
             8    Ex. 3 [Kinrich Original Rpt.] at ¶ 165; see also Ex. 5 [4/12/23 AM Tr.] at 15:6-18 (Court
             9    relying on paragraph 165 to limit scope of Kinrich’s testimony). Plaintiffs cannot simply
           10     disregard this prior order, nor have they sought reconsideration of it.
           11           When pressed on this issue during the parties’ meet and confer, Plaintiffs’ counsel
           12     suggested it was appropriate to consider the later models because they were “new”
           13     models not available at the time of Mr. Kinrich’s opening report. Ex. 10 [Email Thread]
           14     at 2. That is untrue. Apple Watch Series 8 and Ultra (and the Apple Watch SE2 that
           15     Mr. Kinrich compares them to) launched in September 2022—before Mr. Kinrich served
           16     his opening expert report. Ex. 1 [8/9/24 Kinrich Rpt.] at ¶ 12 (“Apple Watch Series 8,
           17     Ultra, and SE2 all launched in September 2022”). Indeed, when producing updated sales
           18     data prior to trial, Apple informed Plaintiffs that it would not produce data for Series 8
           19     or Ultra, notwithstanding that such data existed, because “Plaintiffs have no disclosed
           20     damages theory related to those products.” Ex. 11 [3/8/23 Email from Apple counsel]
           21     at 1. Specifically, Apple explained that “Mr. Kinrich’s only remaining damages theory
           22     is his unjust enrichment opinion concerning the profit differential between Apple Watch
           23     Series 6/Series 7 and Apple Watch SE.” Id. Plaintiffs did not take issue with this
           24     position at the time (or, for that matter, at any time in the following 17 months before
           25     last Friday).
           26           Plaintiffs’ attempt to now introduce a calculation of incremental profits
           27     attributable to these later models is not only untimely but conflicts with Mr. Kinrich’s
           28     own opinions. As Mr. Kinrich explained at trial, he compared Apple Watch Series 6

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             1    and SE because they “                                                 ,”
             2                                    ”
             3
             4         ” Ex. 6 [4/13/23 Trial Tr. AM] at 87:12-89:10; Ex. 3 [Kinrich Op. Rpt.] at ¶ 153.
             5    And defending the appropriateness of his methodology, he responded to criticism from
             6    Apple’s expert, Ms. Webster, that he should have compared Apple Watch Series 6 to
             7    Series 5, Ex. 7 [4/25/23 Trial Tr.] at 28:7-23, by testifying that
             8
             9               ,” which “                                                                ,” Ex.
           10     6 [4/13/23 Trial Tr. AM] at 87:12-89:10. Mr. Kinrich informed the jury that it was
           11
           12                                                                                .” Id. But by
           13     the time Series 8, Ultra, and the other newer models launched, the Blood Oxygen was
           14     no longer a “new feature.” By Mr. Kinrich’s own logic, therefore, the later models
           15     would have said little about the value of Blood Oxygen.
           16           B.     The “Updated” Report Improperly Discloses New Theories And
           17                  Calculations To Attempt To Evade Prior Criticisms.
           18           Even as to the Series 6 and Series 7 Apple Watch models, Mr. Kinrich’s “updated”
           19     report contains previously undisclosed opinions that should be excluded as untimely.
           20           First, Mr. Kinrich’s updated report purports to consider—and value—far more
           21     Apple Watch features than his original report and perform that valuation based on
           22     different materials. Specifically, Mr. Kinrich’s October 2022 report relied on Apple’s
           23     marketing of Apple Watch Series 6 and SE at launch to (wrongly) conclude that the only
           24     meaningful differences between the two products were the Blood Oxygen, ECG, and
           25     Always-On Retina Display features. Ex. 6 [4/13/23 Trial Tr. AM] at 124:2-128:20,
           26     131:10-17; Ex. 3 [Kinrich Op. Rpt.] at ¶ 153. Using the differences he identified
           27     between Series 6 and SE based on this marketing, Mr. Kinrich utilized a subset of
           28     Apple’s surveys of Apple Watch buyers to ascertain the value these features purportedly

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             1    had for Series 6 and Series 7—even though there were numerous other differences
             2    between the Series 6 and 7 as compared to the SE. See Ex. 7 [4/25/23 Trial Tr.] at 29:17-
             3    30:16.      Mr. Kinrich provided an encapsulation of his approach during cross-
             4    examination:
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           13     Ex. 6 [4/13/23 Trial Tr. AM] at 116-117. The cross-examination went on to discuss
           14     other features that Apple marketed heavily but that Mr. Kinrich had failed to take into
           15     account, such as the fact that the Series 6 had a more powerful chip than the Series SE:
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                  Id. at 117:12-118:24.
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                           The “updated” Kinrich report takes a dramatically different approach. While Mr.
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             1    Kinrich’s October 2022 report assigned value to only 3 features (Blood Oxygen, ECG,
             2    Always-On Retina), the new report assigns value to 21 other features. Compare Ex. 3
             3    [Kinrich Original Rpt.] at Ex. 5B, n.4 with Ex. 1 [8/9/24 Kinrich Rpt.] at Ex. 1C. This
             4    change is an obvious attempt to avoid cross-examination forcing Mr. Kinrich to admit
             5    he had given “zero value” to other features. Ex. 6 [4/13/23 Trial Tr. AM] at 124:2-
             6    128:20, 131:10-17; see also Dkt. 1901 at 14 (Court recognizing that “the shortcomings
             7    in Kinrich’s economic-value testimony” included “assigning zero value to all other
             8    watch features in Series 6 and 7”).
             9          Plaintiffs’ attempted do-over is vividly apparent when it comes to accounting for
           10     the value of the S6 chip discussed in the cross-examination excerpt discussed above.
           11     While Mr. Kinrich conceded at the April 2023 trial that he had given the S6 chip no
           12     value, he now provides a new, alternative damages calculation that specifically
           13     “                                                   ” Ex. 1 [8/9/24 Kinrich Rpt.] at ¶ 17
           14     n.21; see also id. at Ex. 1F (                                                         ).
           15     Such a change in opinion is clearly improper. The duty to supplement “does not give
           16     license to sandbag one’s opponent[s],” Reinsdorf v. Skechers U.S.A., 922 F. Supp. 2d
           17     866, 880 (C.D. Cal. Feb. 6, 2013), but that is precisely what Plaintiffs have done here—
           18     an approach that, if permitted, would “essentially allow for unlimited bolstering of
           19     expert opinions.” O’Connor v. Boeing North American, Inc., 2005 WL 6035243, at *9
           20     (C.D. Cal. Sept. 12, 2005) (quoting Akeva L.L.C. v. Mizuno Corp., 212 F.R.D. 306
           21     (M.D.N.C.2002)).
           22           Second, in calculating the purported value of the broader feature set he now
           23     considers, Mr. Kinrich relies on a broader set of surveys of Apple Watch buyers than he
           24     previously considered. Mr. Kinrich’s original analysis considered Apple Watch buyer
           25     surveys from Q1FY2019 – Q1FY2021 but did not consider buyer surveys from
           26     Q2FY2021 – Q2FY2022, notwithstanding that they had been produced prior to his
           27     opening report. Ex. 7 [4/25/23 Trial Tr.] at 31:10-33:2. As Apple’s expert explained,
           28     exclusion of these surveys caused Mr. Kinrich to “overstate[] the importance of the

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             1    blood oxygen feature.” Id. Mr. Kinrich’s new analysis now includes the surveys he
             2    previously omitted. See, e.g., Ex. 1 [8/9/24 Kinrich Rpt.] at Ex. 4A (considering buyer
             3    survey responses from Q1FY2019 – Q2FY2024).
             4          Once again, as this Court has previously observed, supplementation is not
             5    intended to create a “loophole” for a party that “wishes to revise her disclosures in light
             6    of her opponent’s challenges to the analysis and conclusions therein … after the court’s
             7    deadline for doing so has passed.” Luke v. Fam. Care & Urgent Med. Clinics, 323 F.
             8    App’x 496, 500 (9th Cir. 2009); accord Kinrich Order at 9-10. This Court applied this
             9    rule once in rejecting another untimely Kinrich report—it should do the same here.
           10           C.     The “Updated” Report Improperly Discloses A New Theory That
           11                  Violates The Court’s In Limine Order.
           12           Mr. Kinrich’s report should be excluded for the additional reason that it relies on
           13     the International Trade Commission’s ruling in Certain Light-Based Physiological
           14     Measurement Devices And Components Thereof and follow-on Federal Circuit
           15     proceedings to justify his conclusions about the purported value of the Blood Oxygen
           16     feature. See Ex. 1 [8/9/24 Kinrich Rpt.] at ¶¶ 8-10. That approach conflicts with this
           17     Court’s motion in limine ruling barring direct reference to any other litigation or
           18     administrative proceeding. See Dkt. 1469 at 1-2 (granting Apple’s motion to exclude
           19     other proceedings, finding that “evidence, rulings, and dispositions of other cases will
           20     shed little, if any, probative value” and would risk “danger of unfair prejudice, confusion
           21     of the issues, and misleading the jury”). Apple would be unable to cross-examine Mr.
           22     Kinrich on the basis for his “updated” damages opinion without running afoul of the
           23     Court’s order—which would create a prejudicial “trial within a trial.”
           24           During the telephonic meet-and-confer, Plaintiffs suggested that this Court’s prior
           25     motion in limine rulings would have to be revisited before the next trial in order for Mr.
           26     Kinrich’s opinions to be permissible. Plaintiffs cannot reasonably proceed on the
           27     assumption that an existing court order will be modified when they have not even sought
           28     reconsideration. Regardless, any request for reconsideration would fail because any

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             1    supposed relevance of the International Trade Commission proceeding is heavily
             2    outweighed by the unfair prejudice and confusion that would arise from introducing a
             3    ruling involving different patents and different evidence.4
             4    II.       THE “SUPPLEMENTAL” MADISETTI REPORT IS UNTIMELY AND IMPROPER.
             5              Dr. Madisetti testified at trial that Apple misappropriated L5 through use of a short
             6    circuit
             7                                                                                 . Ex. 8 [4/12/23
             8    Trial Tr. PM] at 26:12-28:8. In his new “supplemental” report, Dr. Madisetti seeks to
             9    add an entirely new theory of misappropriation for the purported L5 trade secret based
           10     on a claim that Apple supposedly                                                . Ex. 2 [8/9/24
           11     Madisetti Rpt.] ¶ 3. But that new, previously undisclosed theory should be excluded as
           12     untimely because nothing prevented Plaintiffs or Dr. Madisetti from raising
           13                                   before expert discovery closed for the trade secret portion of
           14     this case. During the meet and confer process, Plaintiffs suggested the supplement was
           15     justified by Apple’s production—in response to Plaintiffs’ discovery demands relating
           16     to the patent infringement claims—of three                         ,” alleging that it was these
           17     documents that “reveal that Apple
           18                                                                  .” Ex. 10 [Email Thread] at 1.
           19     However, as is plain from a review of the “supplemental” report, Plaintiffs were in
           20     possession of this same information years ago.
           21               Indeed, Dr. Madisetti’s new report cites seven documents, four of which were
           22     indisputably produced long before Dr. Madisetti submitted his original report before
           23     trial. For example, in paragraphs 5-7, Dr. Madisetti recites excerpts from two
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                    In later email correspondence, Plaintiffs simply asserted that they “disagree” that this
                  Court’s motion in limine bar references to the ITC proceedings. See Ex. 10 [Email
           28     Thread] at 1-3. But the Court’s order is clear: Neither party may reference “evidence,
                  rulings, and dispositions of other cases.” Dkt. 1469 at 1-2.
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             1                                                                   But (1) Apple produced both
             2    documents three years ago in 2021—well before the close of expert discovery in the
             3    trade secret portion of the case, and (2) Dr. Madisetti relied on
             4
             5                                                   E.g., Ex. 12 [9/23/22 Madisetti Rpt.] ¶ 531
             6    (“                                                            ”); Ex. 8 [4/12/23 Trial Tr. PM]
             7    at 28:17-29:7 (testifying
             8                                            )).
             9          Plaintiffs cannot claim that Apple somehow
           10                                        before the last trial, as confirmed by the numerous
           11     documents that Apple produced before that trial that identified
           12                                   :
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           22                                  . Nor can Apple be faulted simply because Plaintiffs chose
           23     to depose Apple witnesses about
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           25                                                                                  See, e.g., Ex. 18
           26     [7/28/22 Land Dep.] at 62:12-63:2 (
           27                       ); id. at 89:6-7, 91:20-21 (
           28                                                        ).

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             1           In short, Plaintiffs had more than sufficient evidence before the close of trade
             2    secret fact discovery in 2022 to know that
             3                                                                                    , and thus
             4    to offer a theory of misappropriation based on any such disclosure. Thus, Dr. Madisetti’s
             5    new “supplemental” report is untimely.
             6    III.   THE PROPER REMEDY IS TO STRIKE THE NEW KINRICH AND MADISETTI
             7           REPORTS IN THEIR ENTIRETY.
             8           FRCP 37(c)(1) requires “automatic exclusion” of material that was not timely
             9    disclosed under FRCP 26 unless the non-moving party can show that “the failure to
           10     disclose was either substantially justified or harmless.” E.g., Luke, 323 F. App’x at 498-
           11     499; see also Merchant v. Corizon Health, Inc., 993 F.3d 733, 740 (9th Cir. 2021). Here,
           12     Plaintiffs’ failure to disclose new liability and damages theories prior to August 9,
           13     2024—and their willful disregard of this Court’s orders limiting their damages case and
           14     references to the ITC proceedings—justify striking the two new reports in their entirety.
           15     See, e.g., Hologram USA, Inc. v. Pulse Evolution Corp., 2016 WL 3965190, at *4 (D.
           16     Nev. July 21, 2016) (“‘[E]ven though the ultimate trial date was still some months
           17     away[,]’ late supplemental disclosures are not harmless where parties disregard the
           18     Court’s clear scheduling orders” (quoting Wong v. Regents of Univ. of California, 410
           19     F.3d 1052, 1062 (9th Cir. 2005)).
           20            Plaintiffs have no justification for their delay. Discovery in the trade secret
           21     portion of the case closed two years ago. See supra p.2. Plaintiffs have asserted that
           22     they could not have filed Dr. Madisetti’s supplemental report much earlier because a
           23     supposed key document was not disclosed by Apple until June 2024.5 But as explained
           24     above, Plaintiffs had all the information they needed to raise their new misappropriation
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           26
                  5
                    Plaintiffs implied in correspondence that they intended to serve their new reports on
           27     July 15, 2024—i.e., the original expert report deadline for the patent infringement
                  claims. Ex. 10 [Email Thread] at 2. While that makes no sense, as such discovery was
           28     explicitly limited to the patent infringement claims, it also does not explain why
                  Plaintiffs waited nearly a month after that deadline before providing the present reports.
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             1    theory long before the close of trade secret fact discovery. See supra pp.12-13.
             2          Nor is Plaintiffs’ improper conduct harmless. Trial is set to begin in less than
             3    three months. As discussed above, Plaintiffs’ correspondence reveals that they intended
             4    to inject these opinions into their patent expert reports—well before the parties’
             5    discussions regarding bifurcation. Despite knowing this, Plaintiffs chose not to inform
             6    Apple or the Court of their intent to amend their expert’s opinions, nor did they seek
             7    leave to do so. In fact, despite contending that their experts’ supplements are based on
             8    documents produced during fact discovery relating to the patent infringement claims,
             9    Plaintiffs did not even attempt to disclose their new theories in any interrogatory
           10     response. Preparing for and attending trial is already “the most burdensome task” in a
           11     litigation. See Smartflash LLC v. Apple Inc., 621 F. App’x 995, 1005 (Fed. Cir. 2015).
           12     Responding to these new opinions, without notice and in such close proximity to trial,
           13     is highly prejudicial. The only remedy to cure the prejudice to Apple is striking Mr.
           14     Kinrich and Dr. Madisetti’s belated opinions.
           15                                        CONCLUSION
           16           For the foregoing reasons, the Court should strike Mr. Kinrich and Dr. Madisetti’s
           17     August 9, 2024 expert reports.
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             1
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             1                           CERTIFICATE OF COMPLIANCE
             2          The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3    brief contains 5199 words, which [choose one]:
             4          X complies with the word limit of L.R. 11-6.1
             5             complies with the word limit set by court order dated [date].
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